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                                                                    OR\G\NAL
Approved:

            Assistant United

Before:     THE HONORABLE SARAH NETBURN
            United States Magistrate Jut~t)
            Southern District of New YoJ:<-()

 ------------------------------------x
                                                 MAG9293
                                            SEALED COMPLAINT
UNITED STATES OF AMERICA
                                            Violations of 18 U.S.C.
                  - v.   -                  §§ 1952 (a) (3), 2421 (a),
                                            15 91 ( a) ( 1 ) , ( a) ( 2 ) , and
 ISHI WONEY,                                 2

                   Defendant.               COUNTY OF OFFENSE:
                                            BRONX
 ----------------------------------- x
SOUTHERN DISTRICT OF NEW YORK, ss.:

          RACHEL L. GRAVES, being duly sworn, deposes and says
that she is a Special Agent with the Federal Bureau of
Investigation ("FBI") Child Exploitation Trafficking Taskforce,
and charges as follows:

                               COUNT ONE
                    (Use of an Interstate Facility to
              Promote, Manage, and Carry on Prostitution)

          1.   In or about September 2017,       in the Southern
District of New York and elsewhere, ISHI WONEY, the defendant, did
knowingly use, a facility in interstate commerce, with the intent
to promote, manage, establish, and carry on, and facilitate the
promotion, management, establishment, and carrying on of an
unlawful activity, and thereafter performed and attempted to
perform acts to promote, manage, establish and carry on, and to
facilitate the promotion, management, and carrying on of such
unlawful activity, to wit, WONEY used the Internet to promote,
manage, establish, and carry on a criminal business engaged in
prostitution in violation of New York Penal Law§§ 230.00, 230.20,
and 230.25.

    (Title 18, United States Code, Sections 1952(a) (3) and 2)
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                               COUNT TWO
                               (Mann Act)

           2.   In or about November 2017, in the Southern District
of New York and elsewhere, ISHI WONEY, the defendant, did knowingly
transport an individual in interstate and foreign commerce, and in
a Territory and possession of the United States, with intent that
such individual engage in prostitution, and a sexual activity for
which a person can be charged with a criminal offense, and
attempted to do so, to wit, WONEY transported a female, Victim-1,
to multiple states, including New York, with the intent that she
engage in prostitution.

     (Title 18, United States Code, Sections 242l(a) and 2.)

                           COUNT THREE
     (Sex Trafficking by Means of Force, Threats, Fraud, and
                            Coercion)

          3.    Between in or al:Jout February 2018 through the
present, in the Southern District of New York and elsewhere, ISHI
WONEY, the defendant, knowingly, in and affecting interstate and
foreign commerce,     recruited,  enticed, harbored,   transported,
provided,   obtained,    advertised,  maintained,  patronized   and
solicited a person, and did benefit, financially and by receiving
things of value, from participation in a venture which had engaged
in such acts, knowing and in reckless disregard of the fact that
means of force, threats of force, fraud, and coercion would be
used to cause that person to engage in commercial sex acts, to
wit, WONEY recruited and coerced through force, threats, fraud,
and coercion an individual, Victim-1, to engage in commercial sex
acts, in the Bronx, New York, and elsewhere, for which WONEY was
paid.

 (Title 18, United States Code, Sections 159l(a) (1),          (a) (2), and
                                   2. )

          The bases for my knowledge and the foregoing charges
are, in part, as follows:

          4.    I am a Special Agent with the FBI. This affidavit
is based on my personal participation in the investigation of this
matter, my conversations with other law enforcement agents,
witnesses and others, as well as my examination of reports and
records. Because this affidavit is being submitted for the limited
purpose of demonstrating probable cause, it does not include all
the  facts   that   I  have  learned during the course of my

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investigation.  Where the contents of documents and the actions,
statements, and conversations of others are reported herein, they
are reported in substance and in part, except where otherwise
indicated.

 Commercial Sex Acts by Victim-1 and Victim-2 at WONEY's Behest

          5.   Based on my review of materials obtained from a
social media company ("Social Media Company-1") pursuant to search
warrants, my review of notes pertaining to consensual interviews
of ISHI WONEY, the defendant, and a victim of a sex trafficking,
Victim-1, by the New York City Police Department ("NYPD"), my
review of law enforcement records pertaining to an investigation
by the NYPD into the disappearance of a female victim of sex
trafficking other than Victim-1, i.e., Victim-2, my review of
government records related to WONEY,        and my training and
experience, I have learned the following, in substance and in part:

               a.   On or about August 26, 2017, an account
maintained with Social Media Company-1 that I believe to be used
by and registered to WONEY (the "Woney Social Media Account"),
received a private message via a messaging service provided by
Social Media Company-1 ("Social Media Messenger-1")       from an
account maintained with Social Media Company-1 that I believe to
be used by and registered to Victim-1 (the "Victim-1 Social Media
Account"), asking "wyd," an acronym which I know to mean "what you
doing?"  Approximately seven hours later, the Woney Social Media
Account replied that the user of that account, whom I believe to
be WONEY, was "Trapping," a term which I know is often used as a
synonym for "pimping" or "sex trafficking."

               b.   On or about September 3,       2017,  between
approximately 1:20 a.m., and approximately 1:33 a.m., the Victim-
1 Social Media Account sent the Woney Social Media Account the
following private messages via Social Media Messenger-1:

Sender      Recipient        Message
Victim-1    WO NEY           I'm safe I'm okay I have a half hour
                             date for 90
Victim-1    WONEY            Daddy
Victim-1    WO NEY           I'm at the holiday
Victim-1    WO NEY           Room 209

I believe the foregoing conversation indicates that on or about
September 3, 2017, Victim-1 was engaging in a commercial sex act
 ("a half hour date for 90 [dollars]") in "Room 209" of a hotel
on behalf of WONEY, whom Victim-1 referred to as "Daddy"-a term

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often used by victims of sex trafficking in reference to their
"pimps."

          6.    Based on my review of materials obtained f ram
Social Media Company-1 pursuant to search warrants, my review of
notes pertaining to consensual interviews of ISHI WONEY, the
defendant, and a victim of a sex trafficking, Victim-1, by the
NYPD, my review of records associated with a particular phone
number ("Phone Number-1") , my review of law enforcement records
pertaining to an investigation by the NYPD into the disappearance
of Victim-2, my review of government records related to WONEY, my
review of information provided to the Government pursuant to Grand
Jury subpoenas, my review of information provided to the Government
by the Office of the District Attorney of New York ( "DANY''), and
my training and experience, I have learned the following, in
substance and in part:

           a. In or about August 2017, Victim-2, then 19 years-
old, traveled to New York, New York, from her hometown in
Pennsylvania.

          b.   Between on or about September 4, 2017, and on or
about September 9, 2017, Victim-2 reserved a room at a hotel in
the Bronx, New York, known to me as a location of substantial sex
trafficking activity ("Hotel-1").

           c.   In or about September 2017, WONEY met Victim-2 at
Hotel-1.

          d.   Between on or about September 10, 2017, and on or
about   September  20,   2017  (that  is,  prior   to  Victim-2's
disappearance), the last phone number known to be used by Victim-
2, i.e., Phone Number-1, exchanged 806 text messages with a phone
number ("Phone Number-2") that WONEY contemporaneously identified
to others as his own phone number.

          e.   On or about September 17, 2017, the Woney Social
Media Account sent via Social Media Messenger-1 an account held
with Social Media Company-1 that I believe to be used by and
registered to Victim-2 (the "Victim-2 Social Media Account") a
photograph depicting Victim-1, Victim-2, and WONEY in what I
believe to be the interior of a hotel room.

          7.   Based on my    review of    notes  pertaining to
consensual interviews by the NYPD of ISHI WONEY, the defendant,
and Victim-1, my review of law enforcement records pertaining to
an investigation by the NYPD into the disappearance of Victim-2,

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my review of information provided to the Government pursuant to
Grand Jury subpoenas, and my training and experience, I have
learned the following, in substance and in part:

                a.  No later than on or about September 20, 2017,
WONEY had a falling out with Victim-2 because Victim-1 was jealous
of WONEY's relationship with Victim-2.

               b.   On or about September 20,          2017, was the last
time WONEY was with Victim-2.

               c.   On or about that day, WONEY was present with
Victim-2 at a hotel in Queens, New York ("Hotel-2"), where another
male reserved and paid for a room where Victim-2 was planning to
stay that night.

  WONEY's Use of the Internet to Advertise Commercial Sex Acts

           8.   Based on my review of materials obtained from
Social Media Company-1 pursuant to search warrants, my review of
law enforcement records pertaining to an investigation by the NYPD
into the disappearance of Victim-1, my review of records provided
to the Government by DANY, and my training and experience, I have
learned the following, in substance and in part:

               a.   The Woney Social Media Account is registered
to an email address ("Email Address-1") that contains components
of the first and last names of ISHI WONEY, the defendant.

               b.   On   or   about   September   3,    2017,  at
approximately 4:38 a.m., an advertisement ("Advertisement-1") for
a commercial sex act was purchased for posting on a classifieds
website ("Website-1") by a user ("User-1") who identified his/her
email address as Email Address-1.   Accordingly, I believe User-1
of Website-1 is WONEY.

                c.  Advertisement-1 included a headline of "Two
girl special nunu enterprises," was marketed specifically to the
"Bronx," and included pictures that I believe depict both Victim-
1 and Victim-2.

               d.   The text of Advertisement-1 stated, in part:
"always ready for fun! Please Be RESPECTFUL & Discreet the TOTAL
package SKILLS That will make you melt."

               e.   User-1, whom I believe to be WONEY, was
invoiced for posting Advertisement-1 on Website-1 on approximately

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17 occasions between September 3, 2017, and September 12, 2017.

        Commercial Sex Acts in New York State by Victim-1

           9.    Based on my review of a commercial database
containing a repository of online sex trafficking advertisements
( "Database-1") , my personal review of materials obtained from
Social Media Company-1 pursuant to search warrants, my review of
law enforcement records, and my training and experience, including
but not limited to training in facial recognition techniques, I
have learned the following, in substance and in part:

               a.   Database-1 is a commercial database that
"crawls"   classified    websites    suspected    of    containing
advertisements for commercial sex acts and compiles pertinent data
from such advertisements, presenting such data in a searchable
database.

               b.   Public   records   associated  with   Victim-1
identified her phone number to be Phone Number-3 as of on or about
July 2, 2017.

                c.  Database-1 identifies that between on or about
September 6, 2017, and on or about June 8, 2018, Phone Number-3
was used as the contact number in approximately 474 advertisements
on websites known by law enforcement to contain classified
advertisements for commercial sex acts. Those advertisements were
expressly directed at markets in Connecticut, New Jersey, and the
Bronx, New York, among other places.   In particular:

                    i.Between on or about September 30, 2017, and on
                      or about November 1, 2017, Phone Number-3 was
                      used as the contact number in approximately 52
                      advertisements     (the     "Pre-November    2
                      Advertisements") on websites known by law
                      enforcement     to      contain     classified
                      advertisements for commercial sex acts.

                  ii. The Pre-November 2 Advertisements contain a
                      photograph of a partially nude woman who I
                      believe to be Victim-1.

                 iii.The    Pre-November   2  Advertisements   were
                      expressly directed at the Bronx, New York.

          10. Based on my review of NYPD law enforcement records,
my review of Database-1, and my training and experience, including

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but not limited to training and experience in facial recognition,
I have learned the following, in substance and in part:

                a.   On or about November 2, 2017, an undercover
member of the NYPD ("UC-1") engaged in a text message conversation
with Phone Number-3, which, as noted, was identified as Victim-
1' s phone number as of on or about July 2, 2017.

               b.   UC-1 initiated the text message conversation
by explaining he was "looking to spend some time" with the user of
Phone Number-3 on or about November 2, 2017, and asking the user
of Phone Number-3 "where in the city are you." The user of Phone
Number-3 responded that she was in the "Bronx" but that the user
of Phone Number-3 did not "have a room right now."

               c.   On or about November 3, 2017, at approximately
12:05 a.m., UC-1 sent a text message to the user of Phone Number-
3 asking her to "let me know where you are."     The user of Phone
Number-3 replied the same day, between approximately 12:06 a.m.,
and approximately 12:12 a.m., "I went to nj hun" and that she was
at a hotel in East Orange, New Jersey ("Hotel-2").

               d.   On or about November 3,      2017,  two NYPD
officers, acting on the text message exchanged between UC-1 and
the user of Phone Number-3 and their suspicion that Phone Number-
3 was associated with Victim-1, found ISHI WONEY, the defendant,
and Victim-1 at Hotel-2 in New Jersey and interviewed them in
connection with the disappearance of Victim-2.

               e.   At some point prior to on or about November 2,
2017, WONEY reserved a room at Hotel-2 under his own name with an
arrival date of on or about November 2, 2017, and a departure date
of on or about November 4, 2017, and that WONEY paid for the room
with cash.

               f.   Between on or about November 2, 2017, and on
or about November 9, 2017, Phone Number-3 was used as the contact
number in approximately 40 advertisements on websites known by law
enforcement to contain classified advertisements for commercial
sex acts.     Those advertisements were expressly targeted at
locations in northern New Jersey, including East Orange, New
Jersey,   where Hotel-3 is located.

               g.  Accordingly, I believe that after on or about
November 2, 2017, Victim-1 engaged or attempted to engage in
commercial sex acts on WONEY's behalf in New Jersey - and that


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Victim-1 traveled between New York State and New jersey at WONEY's
behest to do so.

                WONEY's Use of Force against Victim-1

          11. Based on my review of law enforcement records, my
review of materials obtained from Social Media Company-1 pursuant
to search warrants, my review of information provided to the
Government pursuant to Grand Jury subpoenas, and my training and
experience, including but not limited to training and experience
in facial recognition, I have learned the following, in substance
in part:

               a.   A reservation was made by Victim-1 at a hotel
in Jersey City, New Jersey ("Hotel-3") for February 23, 2018,
through February 26, 2018.

               b.   On or about February 26, 2018, ISHI WONEY, the
defendant, was arrested at Hotel-3 (the "Woney Arrest") for
possessing a controlled dangerous substance, in violation of N.J.
Rev. Stat. § 2C:35-10.a(l), and for simple assault, in violation
of N.J. Rev. Stat. § 2C:l2-1A(l).

               c.   On or about February 26, 2018, WONEY was with
Victim-1 at Hotel-3, where WONEY punched Victim-1 in the face,
took possession of Victim-l's money and belongings, and refused to
return such money and belongings to Victim-1. The police officers
who initially responded to the complaint underlying the Woney
Arrest observed Victim-1 to have a swollen lip and scratches on
her face. 1

               d.    On or about February 28, 2018, the Woney
Social Media Account exchanged private text messages using Social
Media Messenger-1 with an account I believe to be used by and
registered to an associate of WONEY, CC-1, informing CC-1 that
"shortie [Victim-1] blew and called the cops on me" because "i had
another hoe."     WONEY further informed CC-1 via Social Media
Messenger-1 that WONEY understood that Victim-1 told the police
that "i [WONEY] beat her im her pimp and i force her to trap."

               e.   On or about April 25, 2018, the Victim-1
Social Media Account left a voicemail ("Voicemail-1") via Social
Media Messenger-1 with the Woney Social Media Account. Voicemail-
1 contains a female voice in distress that I believe is associated

1
 Victim-1 refused to be photographed or to press charges against WONEY in
connection with the Woney Arrest.

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with Victim-1 asking "can I have my stuff back?                 That's all I have.
Why are you doing this?"

                  f.I believe the foregoing (Paragraph 11.a-e)
indicate that WONEY uses force and the threat of force to exert
control over Victim-1 to engage in commercial sex acts.

               Victim-l's Continued Commercial Sex Acts
                    in New York on behalf of WONEY

          12. Based on my review of law enforcement reports
generated in connection with an undercover operation investigating
commercial sex acts ("UC Operation-1"), my review, pursuant to a
search warrant, of a mobile telephone seized from Victim-1 during
UC Operation-1, my review of law enforcement records pertaining to
an investigation by the NYPD into the disappearance of Victim-2,
my review of notes pertaining to consensual interviews of ISHI
WONEY, the defendant, and Victim-1 by the NYPD, my review of
information provided to the Government pursuant to Grand Jury
subpoenas, my review of information provided to DANY, my review of
Database-1, and my training and experience, I have learned the
following, in substance and in part:

          a.   On or about October 4, 2018, using an image-search
function in Database-1, a law enforcement officer identified an
advertisement for a commercial sex act featuring pictures of a
female believed to be Victim-1 and believed to have been featured
in other online advertisements for commercial sex acts featuring
Victim-1.  That advertisement ("Advertisement-2") had been posted
to a classifieds website that day (on or about October 4, 2018).
Advertisement-2 stated that the subject of the advertisement
sought a "generous gentleman to fulfill my needs" and was expressly
targeted to the "Bronx, New York." Advertisement-2 also listed a
phone number ("Phone Number-4")     as the phone number for a
respondent to Advertisement-2 to contact.

          b.   On or about October 11, 2018, an undercover member
of the NYPD ("UC-2") exchanged multiple text messages with Phone
Number-4 and expressed an interest in engaging in a commercial sex
act. That evening, UC-2 was directed by the user of Phone Number-
4 to a hotel in the Bronx, New York ("Hotel-4").      Upon UC-2's
arrival   at   Hotel-4,   UC-2   sent   a   text   message      to    Phone   Number-4
indicating his arrival, and the user of Phone Number-4 (believed
to be Victim-1) responded by instructing UC-2 to go to Room 110 of
Hotel-4.




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          c.   On or about October 11, 2018, at approximately
10:40 p.m., Phone Number-4, believed to be used by Victim-1, sent
Phone Number-2, believed to be used by WONEY, a text message
stating "I have a ss coming right now before my hour date."     I
believe the term "ss" is an acronym for "short stay," which is a
term used to describe a half-hour commercial sex act.

          d.   On or about October 11, 2018, between approximately
11:12 p.m. and 11:15 p.m., Phone Number-2, believed to be used by
WONEY, sent Phone Number-4, believed to be used by Victim-1, the
following text messages:

    Sender      Recipient       Message
    WO NEY      Victim-1        Yooo the boys is there
    WONEY       Victim-1        Yo be on point
    WO NEY      Victim-1        You don't give dates the right room
    WONEY       Victim-1        The room next door

I   interpret the foregoing text messages to involve WONEY
coordinating a commercial sex act that Victim-1 was going to engage
in.

          e.   On or about October 11,       2018,   at or after
approximately 11:15 p.m., UC-2 arrived at Room 110 of Hotel-4,
where UC-2 was greeted by Victim-1 and entered an agreement with
Victim-1 to pay her $200.00 to engage in sexual intercourse for an
hour.  Almost immediately thereafter, UC-2 relayed to additional
members of the NYPD that he had successfully agreed with Victim-2
to engage in a commercial sex act. Additional members of the NYPD
then entered Room 110 of Hotel-4 and effectuated an arrest of
Victim-1 (the "Victim-1 Arrest"), who at that point identified
herself as the first and last name of Victim-1.

          f.   Following the Victim-1 Arrest, a mobile telephone
("Mobile Telephone-1") in Victim-1' s possession began ringing as
it received an incoming video call from WONEY.         As Mobile
Telephone-1 was so ringing, Victim-1 informed a law enforcement
officer ("LE0-1") in her presence, in substance and in part, that
WONEY was calling her on Mobile Telephone-1.

          g.   Victim-1 then indicated that LE0-1 was permitted to
answer Mobile Telephone-1.      LE0-1 proceeded to answer Mobile
Telephone-1, and a video call commenced during which LE0-1 observed
an individual he believed to be WONEY on a live video feed.

          h.   Approximately one hour after LE0-1' s video-call
with WONEY on Mobile Telephone-1, while LE0-1 was with Victim-1 at

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an NYPD station in the Bronx, New York, Mobile Telephone-1 rang
several times and displayed on its screen a caller name that
Victim-1 identified as WONEY.

          i.   During a consensual interview with law enforcement
officers after the Victim-1 Arrest, Victim-1 identified to law
enforcement officers that WONEY is her "pimp," stated that she
engages in commercial sex acts on behalf of WONEY, and stated that
she gives the money she earns from engaging in such commercial sex
acts to WONEY.


     WHEREFORE, deponent respectfully requests that a warrant be
issued for the arrest of ISHI WONEY, the defendant, and that he
be arrested and imprisoned, or bailed, as the case may be.




                                 Special Agent
                                 Federal Bureau of Investigation



                                  Sworn to before me this
                                   "II day of October, 2018




                                  THE    HON~A-R~A-H-.+=~
                                  UNITED STATES MAGI S     ,JlJ"DGE
                                  SOUTHERN DISTRICT OF NEW YORK




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